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December 30, 2020




VIA ECF

Magistrate Judge Lois Bloom
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Re:      Furfero v. St. John’s University et al
         1:20-cv-02395-BMC-LB

Dear Magistrate Bloom:

We represent Defendants in the above-referenced matter. We write, with Plaintiff’s consent,
pursuant to Rule C(3) of Your Honor’s Individual Rules to request an extension of the January 21,
2021 mediation deadline. The parties are currently scheduled to mediate this matter on February
2, 2021, which is the first available date for all parties and Mediator Vivien Shelanski. Accordingly,
the parties request a brief extension until February 2, 2021, to conduct the mediation.

Respectfully,

/s/

Barbara A. Gross
BAG/mbm

cc: Plaintiff Dr. Joyce Furfero (drfurfero@drfurfero.com)




  littler.com
